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                                        EXHIBIT 1
      Hennepin County Property Map                                          Date: 12/14/2023




                                                       1 inch = 100 feet

PARCEL ID: 3502924120244                               Comments:

OWNER NAME: City Of Minneapolis                        Nenookaasi

PARCEL ADDRESS: 2313 13th Ave S,Minneapolis MN 55404

PARCEL AREA: 0.86 acres, 37,545 sq ft

A-T-B: Both

SALE PRICE:

SALE DATE:

SALE CODE:                                             This data (i) is furnished 'AS IS' with no
                                                       representation as to completeness or
ASSESSED 2022, PAYABLE 2023                            accuracy; (ii) is furnished with no
                                                       warranty of any kind; and (iii) is not suitable
   PROPERTY TYPE: Vacant Land-Residential              for legal, engineering or surveying purposes.
   HOMESTEAD: Non-Homestead                            Hennepin County shall not be liable for any
                                                       damage, injury or loss resulting from this data.
   MARKET VALUE: $0
   TAX TOTAL: $0.00
                                                       COPYRIGHT © HENNEPIN
                                                       COUNTY 2023
ASSESSED 2023, PAYABLE 2024
   PROPERTY TYPE: Vacant Land-Residential
   HOMESTEAD: Non-Homestead
   MARKET VALUE: $0
